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 2 Authority Conferred by 28 U.S.C. § 515

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 9
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10
                                          SAN JOSE DIVISION
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12   UNITED STATES OF AMERICA,                        )   CASE NO. CR-18-00348 BLF
                                                      )            CR-22-00422 BLF
13           Plaintiff,                               )
                                                      )   STIPULATION AND [PROPOSED] ORDER RE:
14      v.                                            )   RESTITUTION
                                                      )
15   VASILE MEREACRE,                                 )
                                                      )   The Honorable Beth Labson Freeman
16           Defendant.                               )
                                                      )
17

18           The United States and defendant VASILE MEREACRE (“Defendant”), by and through their
19 counsel of record, hereby stipulate as follows:

20           1.      Defendant has entered guilty pleas to the charging documents in both the above-
21 captioned cases.

22           2.      At the consolidated sentencing hearing on October 3, 2023 the Court ordered Defendant
23 to serve 6 months in custody, plus three years of supervised release. The Court deferred the

24 determination of restitution to accommodate the parties’ efforts to reach a negotiated resolution. The

25 Court requested that a status report regarding restitution be filed by December 12, 2023. The parties

26 filed that report, see Docket No. 147, in which they informed the Court that the parties had reached an

27 agreement. This stipulation reflects the details of that agreement.

28           3.      Restitution is mandatory to victims of computer intrusion offenses pursuant to 18 U.S.C.

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 1 §§ 3663A (MVRA). Specifically, the law provides that a court “shall order . . . restitution” and that this

 2 restitution order “shall order restitution to each victim” through the appropriate court mechanism “in the

 3 full amount of the victim’s losses as determined by the court and without consideration of the economic

 4 circumstances of the defendant.” 18 U.S.C. § 3664(f)(1)(A).

 5          4.      To conserve judicial resources, to bring about a speedy resolution of this matter, and to

 6 avoid further litigation, the parties agree and jointly request that the Court, upon approval of this

 7 Stipulation, may enter an Amended Judgment to order restitution to the individuals and/or entities in the

 8 amounts as set forth below:

 9               a. $8,343,444.69 in total to SALT Blockchain Inc., with the judgment providing that the

10                  Clerk of the Court shall give Defendant credit immediately for both a $1,739,665.55

11                  payment (pursuant to the government’s seizure of cryptocurrency, which has been or will

12                  be released to the victim) and a $1,003,505.30 payment (reflecting money deposited by

13                  the Defendant with the Clerk and which has already been released to the victim, pursuant

14                  to the Court’s order at Dkt. No. 27), such that the remaining balance on Defendant’s

15                  restitution obligation is $5,600,273.84.

16 The parties stipulate that the above entity qualifies as a “victim” under the statutes cited in paragraph 3,

17 supra. The United States shall furnish the Clerk’s Office with physical address information for each

18 individual and/or entity.
19          5.      The parties agree that the full amount of special assessment, fine, and restitution is due

20 immediately in accordance with 18 U.S.C. § 3572(d) and in accordance with the parties’ plea agreement.

21          6.      The parties further agree to the following payment schedule:

22               a. During imprisonment, payment of criminal monetary penalties is due at the rate of not

23                  less than $25 per quarter and payment shall be through the Bureau of Prisons’ Inmate

24                  Financial Responsibility Program.

25               b. Once Defendant is on supervised release, Defendant shall pay restitution in monthly

26                  payments of not less than $600 or at least 10% of earnings, whichever is greater, to

27                  commence no later than 60 days from placement on supervision.

28          7.      Notwithstanding any payment schedule set by the court, the United States Attorney’s

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 1 Office may pursue collection through all available means in accordance with 18 U.S.C. §§ 3613 and

 2 3664(m). The restitution payments shall be made to the Clerk of U.S. District Court, Attention: Finance

 3 Unit, 450 Golden Gate Ave., Box 36060, San Francisco, CA 94102.

 4          8.      The parties request that the Court issue an Amended Judgment ordering restitution

 5 payable to the individuals and/or entities identified and the terms outlined above.

 6                                                       SO STIPULATED.

 7

 8 DATED: December 29, 2023
                                                         MATTHEW M. YELOVICH
 9                                                       Attorney for the United States
10
                                                                /s/
11                                                       ANDREW F. DAWSON
                                                         Assistant United States Attorney
12

13 DATED: December 29, 2023
                                                                /s/
14
                                                         DORON WEINBERG
15                                                       Attorney for Defendant VASILE MEREACRE

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 1                                           [PROPOSED] ORDER

 2          VASILE MEREACRE is liable for a total of $8,343,444.69 in restitution to SALT Blockchain

 3 Inc. Against this total sum of restitution liability, the Clerk of the Court shall immediately give

 4 Defendant credit for a previous payment of $1,739,665.55, related to a government seizure of

 5 cryptocurrency involved in the offense, and which has been or will be released to the victim. Against

 6 this total sum of restitution liability, the Clerk of the Court shall also immediately give Defendant credit

 7 for the $1,003,505.30 in U.S. currency that he lodged with the Clerk of Court, and which has already

 8 been released to the victim, pursuant to the Court’s October 10, 2023 order at Dkt. No. 27. Accordingly,

 9 Defendant’s remaining balance on his restitution obligation shall be $5,600,273.84.

10          SALT Blockchain Inc. qualifies as a victim pursuant to 18 U.S.C. §§ 3663A (MVRA) et seq.

11          The full amount of special assessment, fine, and restitution is due immediately. During

12 imprisonment, payment of criminal monetary penalties is due at the rate of not less than $25 per quarter

13 and payment shall be through the Bureau of Prisons’ Inmate Financial Responsibility Program. Once

14 Defendant is on supervised release, Defendant shall pay restitution in monthly payments of not less than

15 $600 or at least 10% of earnings, whichever is greater, to commence no later than 60 days from

16 placement on supervision.

17          Notwithstanding any payment schedule set by the court, the United States Attorney’s Office may

18 pursue collection through all available means in accordance with 18 U.S.C. §§ 3613 and 3664(m). The
19 criminal monetary penalty payments shall be made to the Clerk of U.S. District Court, Attention:

20 Finance Unit, 450 Golden Gate Ave., Box 36060, San Francisco, CA 94102.

21          The Probation Office shall prepare an amended judgment in accordance with this order.

22          IT IS SO ORDERED.

23

24 DATE: January 2, 2024

25

26                                                            HON. BETH LABSON FREEMAN
                                                              UNITED STATES DISTRICT JUDGE
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